         Case
          Case23-30944
               23-30944 Doc
                         Doc37-1
                             36 Filed
                                 Filed07/03/24
                                       07/08/24 Entered
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                                                                            Page11ofof22

                         United States Bankruptcy Court
                                   District of Connecticut
                                                                                             Filed and Entered
                                                                                                 On Docket
                                                                                                July 3, 2024


In re:
         Heather Ann O'Brien Treciokas                                                 Case Number: 23−30944
         Debtor*                                                                       Chapter: 7




                               NOTICE OF HEARING ON APPENDIX M MATTER


TO THE RECIPIENT OF THIS NOTICE: Your rights may be affected. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

PLEASE TAKE NOTICE that pursuant to D. Conn. Bankr. L.R. 9014−1(m), a hearing will be held on July 31,
2024 at 10:00 AM at 157 Church Street, 18th Floor, New Haven, CT 06510 to consider and act upon the following
matter(s):


              Motion For Sanctions For Violation of the Discharge Injunction 11 USC 524(a), 11 USC 105,
              in addition to, Motion for Order to Show Cause Why Creditor City of Meriden Water
              Division should not be sanctioned for alleged Automatic Stay Violations 11 USC 362(k) Filed
              by Michael J. Habib on behalf of Heather Ann O'Brien Treciokas, Debtor. (ECF No. 35) (the
              "Movant(s)") (the "Matter").



In accordance with Fed. R. Bankr. P. 9006(d), any party shall file any Objection and/or Response on or before July
24, 2024 and the Movant(s) shall file any Reply on or before July 26, 2024.

NOTICE IS FURTHER GIVEN that, unless otherwise ordered by the Court, the hearing may be continued or
adjourned without further notice.

If Respondents to the Matter or other party entitled to service of the Contested Matter (the "Respondent(s)") wishes to
be heard on the Matter, such party or its attorney must be in attendance during the above scheduled hearing.

TO THE MOVANT:

YOU ARE REQUIRED TO SERVE THIS NOTICE OF HEARING. In accordance with D. Conn. Bankr. L.R.
2002−1 and Appendix A of the Local Rules, the Movant(s) shall serve this Notice of Hearing on the Respondents on
or before July 8, 2024.

YOU ARE REQUIRED TO FILE A CERTIFICATE OF SERVICE. The Movant(s) shall file a Certificate of
Service on or before July 9, 2024 before 4:00 PM evidencing that proper service was made. Untimely certificates of
service may result in the hearing not being held.
       Case
        Case23-30944
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                       Doc37-1
                           36 Filed
                               Filed07/03/24
                                     07/08/24 Entered
                                               Entered07/03/24
                                                       07/08/2412:01:36
                                                                09:33:38 Page
                                                                          Page22ofof22


In accordance with D. Conn. Bankr. L.R. 2002−1(a), 9036−1 and Appendix A, service of this Notice of Hearing upon
parties who are CM/ECF Filers and/or have consented to electronic service, is made via the Court's CM/ECF System.
The Notice of Electronic Filing ("NEF") of this Notice of Hearing generated by the Court's CM/ECF System shall be
deemed to be a certificate of service in accordance with Appendix A, Section 4(c).



Dated: July 3, 2024


                                                                                 Pietro Cicolini
                                                                                 Clerk of Court

United States Bankruptcy Court                                             Tel. (203) 773−2009
District of Connecticut                                                    VCIS* (866) 222−8029
157 Church Street, 18th Floor                                              * Voice Case Information System
New Haven, CT 06510                                                        http://www.ctb.uscourts.gov
                                                                           Form 112 − nsm
